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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION AT DAYTON

JAMES RAY MILLER,

          Plaintiff,                                     Case No. 3:19-cv-145

vs.

THE CITY OF SPRINGFIELD                                  District Judge Michael J. Newman
POLICE DIVISION, et al.,

      Defendants.
______________________________________________________________________________

 ORDER: (1) GRANTING THE PARTIES’ JOINT MOTION TO VACATE TRIAL DATE
 (Doc. No. 100); (2) RESCHEDULING TRIAL FOR TUESDAY, NOVEMBER 29, 2022 AT
9:30 AM; (2) SETTING A FINAL PRETRIAL CONFERENCE ON NOVEMBER 3, 2022 AT
4:00 PM IN COURTROOM 4; AND (3) SETTING A FINAL DEADLINE OF JULY 31, 2022
  FOR PRODUCTION OF ALL REMAINING EXHIBITS TO BE USED DURING TRIAL
 ______________________________________________________________________________

          This civil case is set for trial on August 8, 2022. For good cause show, the parties’ joint

motion to vacate trial date (Doc. No. 100) is GRANTED. In doing so, the Court resets the following

dates:

    Trial Date                                        Tuesday, November 29, 2022 at 9:30 a.m.
    Final Pretrial Conference Date                    November 3, 2022 at 4:00 p.m. in
                                                      Courtroom 4 1
    Final Deadline for Production of All
    Exhibits to be Used during Trial                  July 31, 2022

          All remaining trial-related deadlines are controlled by—and set pursuant to—Section VII of

the Court’s Standard Order Governing Civil Cases (effective December 10, 2021), available at

https://www.ohsd.uscourts.gov/FPNewman.

          IT IS SO ORDERED.

June 24, 2022                                            s/Michael J. Newman
                                                         Hon. Michael J. Newman
                                                         United States District Judge


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    Walter H. Rice Federal Building and U.S. Courthouse, 200 W. 2nd St., Dayton, Ohio 45402.
